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6                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
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                        SAN FRANCISCO-OAKLAND DIVISION
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     AMERICAN CIVIL LIBERTIES
10   UNION FOUNDATION, et al.,                Case No. 19-CV-00290-EMC
11                Plaintiffs,
12
            v.
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     DEPARTMENT OF JUSTICE, et al.,
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15                Defendants.
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                                  [PROPOSED] ORDER
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           Upon the consent motion filed by defendant Department of Homeland
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     Security, and good cause appearing, the Court hereby orders that the briefing
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     schedule for the parties’ cross-motions for summary judgment with respect to the
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     FOIA requests submitted to ICE, CBP, and USCIS is revised as follows:
22
           January 28, 2021: Defendant’s motion for summary judgment.
23
           March 11, 2021: Plaintiffs’ opposition and cross-motion.
24
           April 9, 2021: Defendant’s reply and opposition to cross-motion.
25                22
           April 23, 2021: Plaintiffs’ reply.
26
           May 6
           __________,   2021: Hearing on parties’ cross-motions. at 1:30PM
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                                      [PROPOSED] ORDER
                                   CASE NO. 19-CV-00290-EMC
          Case 3:19-cv-00290-EMC Document 96 Filed 01/13/21 Page 2 of 2



1          IT IS SO ORDERED.
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3    Dated: January 13
                    __, 2021
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5                                      Hon. Edward M. Chen
                                       United States District Judge
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                                   [PROPOSED] ORDER
                                CASE NO. 19-CV-00290-EMC
